                     Case 1:21-cr-00344-JDB Document 1 Filed 04/27/21 Page 1 of 1


AO 91 (Rev. 11/11) Criminal Complaint



                                        UNITED STATES DISTRICT COURT
                                                                  for the
                                                           District of Columbia

                  United States of America                          )
                                v.                                  )
BRANDON NELSON, (DaB: XXXXXXXXX)                                    )       Case No.
ABRAM MARKOFSKI, (DaB: XXXXXXXX)                                    )
                                                                    )
                                                                    )
                                                                    )
                           Defendant(s)


                                                  CRIMINAL COMPLAINT

          I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of                     January 6,2021               in the county of                                in the
                          in the District of      Columbia      , the defendant(s) violated:

             Code Section                                                      Offense Description

             18 U.S.C. § 1752(a)(I) - Entering and Remaining in a Restricted Building or Grounds;
             18 U.S.C. § 1752(a)(2) - Disorderly and Disruptive Conduct in a Restricted Building or Grounds;
            40 U.S.C. § 5104(e)(2)(D)           - Violent Entry or Disorderly Conduct;
            40 U.S.C. § 5104(e)(2)(G)           - Parading, Demonstrating,      or Picketing in a Capitol Building.



         This criminal complaint is based on these facts:
  See attached statement of facts.




         N Continued on the attached sheet.




                                                                                               an Blake. Special Agent
                                                                                               Printed name and title
Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1
by telephone.


Date:             04/27/2021
                                                                                                 Judge's signature

City and state:                         Washington, D.C.                       Robin M. Meriweather,        U.S. Magistrate Judge
                                                                                               Printed name and title
